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                                                     1752 West 1180 South, Suite 8
                                                     Woods Cross, UT 84087
                                                     (385) 207-2699




                                Report of Findings
                               Jetson Fire Origin & Cause
                               Claim Number: 5015617702
                              Rimkus Matter No: 100162188
                                    Prepared For:
                              McCoy Leavitt Laskey, L.L.C.
                              1805 Rio Grande Boulevard
                               Albuquerque, NM 87104
                                        Attention:
                                  Mr. Eugene LaFlamme




     Digitally signed by: Joseph R Filas
     Date: 2024.09.13 12:16:14 -07'00'
     Joseph Filas, IAAI-CFI (V), NAFI-CFEI
     Senior Fire Consultant




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                                               Section I
                                          INTRODUCTION

     On Tuesday, February 1, 2022, a fire occurred to a residential structure located at 1620
     Highway 374 in Green River, Wyoming. The residential structure was owned by Ms.
     Ramona Nuttall. The structure was occupied by Mr. Matthew Wadsworth, Ms. Stephanie
     Wadsworth, and their four children Kamille Wadsworth, Gunner Wadsworth, Layne
     Wadsworth, and Weston Wadsworth. Jetson Electric Bikes manufactured a hoverboard
     that was                                      at Wal-Mart.

     On March 8, 2022, Mr. Eugene LaFlamme with McCoy Leavitt Laskey, L.L.C., on behalf
     of Jetson, retained Rimkus to determine the origin and cause of the fire. Joseph R. Filas,
     IAAI-CFI (V), NAFI-CFEI, Senior Fire Consultant, attended a joint inspection of the
     structure on May 18, 2022. Mr. Brian Strandjord, with Advanced Engineering
     Investigations, attended the joint inspection on behalf of McCoy Leavitt Laskey, L.L.C.
     Ms. Cristal VanDongen with IC Specialty Services, and Mr. John Palmer with Palmer
     Engineering & Forensics conducted the joint inspection on behalf of Farmers Insurance
     Company who insured the property for Ms. Nuttall. Mr. Michael Schulz with M.J. Schulz
     & Associates attended on behalf of Goody Law Group and the Wadsworth family. A list
     of additional participants is available upon request.

     Joseph R. Filas, IAAI-CFI (V), NAFI-CFEI, Senior Fire Consultant, attended an additional
     joint inspection of the structure on August 2, 2022, and August 3, 2022. Mr. Strandjord
     with Advanced Engineering Investigations attended the joint inspection on behalf of
     McCoy Leavitt Laskey, L.L.C. Ms. VanDongen with IC Specialty Services and Mr. Todd
     Reader with Palmer Engineering & Forensics conducted the joint inspection. Mr. Austin
     Birdsong with Apex Fire Services and Mr. Daren Slee with Engineering Systems, Inc.
     attended on behalf of Goody Law Group and the Wadsworth family. A list of additional
     participants is available upon request.

     Joseph R. Filas, IAAI-CFI (V), NAFI-CFEI, Senior Fire Consultant, attended a joint
     evidence examination on October 30, 2023, at Palmer Engineering & Forensics facility in
     North Salt Lake City, Utah. Mr. Strandjord with Advanced Engineering Investigations and
     Mr. Samuel Sudler with S.E.A. Limited attended the joint evidence examination on behalf
     of McCoy Leavitt Laskey, L.L.C. Mr. Richard Dyer with Dyer Fire Consulting and Mr. Scott
     Cramer with Engineering Design and Testing Corporation conducted the joint inspection

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     on behalf of Morgan & Morgan and the Wadsworth family. A list of additional participants
     is available upon request.

     This report was prepared for the exclusive use of McCoy Leavitt Laskey, L.L.C., and was
     not intended for any other purpose. Our report was based on the information available to
     us at this time, as described in the Basis of Report. The opinions and conclusions herein
     are based on sufficient facts or data; they are the product of our analysis utilizing reliable,
     generally accepted principles and methods in our applicable professional field; and they
     reflect a reliable application of these principles and methods to the facts of this matter.
     Should additional information become available, we reserve the right to determine the
     impact, if any, the new information may have on our opinions and conclusions and to
     revise our opinions and conclusions if necessary and warranted. This report was reviewed
     by Paul H. Schneider Jr., IAAI-CFI (V), Fire Practice Leader.




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                                               Section II
                                           CONCLUSIONS

     1. The fire originated at the plastic shed located below the Bedroom #4 window along
         the north exterior wall of the structure.

     2. The probable cause of the fire was the ignition of combustible materials from heat
         generated by the smoldering coal of an improperly discarded cigarette that ignited
         adjacent combustible materials.

     3. The opinions expressed by Detective Jeff Sheaman with the Sweetwater County
         Sherriff as to the origin and cause of the fire are inaccurate. The opinions are not
         consistent with witness statements, proper identification of fire patterns, dynamics of
         fire development, arc mapping analysis, overall methodology of fire investigations, and
         all known data.

     4. The opinions expressed by Mr. Shulz with M.J. Schulz & Associates as to the origin
         and cause of the fire are inaccurate. The opinions are not consistent with witness
         statements, proper identification of fire patterns, dynamics of fire development, arc
         mapping analysis, overall methodology of fire investigations, and all known data.




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                                              Section III
                                            DISCUSSION

     Structural Description

     The fire-damaged structure was a north-facing, single-family, one-story with basement
     residential structure. The structure was constructed of wood framing on a concrete
     foundation system. The roof was constructed of wood framing, sheathed with plywood
     and roofing paper, and finished with metal panels. The attic was insulated with fiberglass
     batt insulation. Exterior walls were constructed of wood framing, insulated with fiberglass
     batt, a layer of black plastic, a layer of fiberboard, a layer of clear plastic, and finished
     with stone veneer at the lower portions of the exterior walls, and metal siding at the upper
     portion of the exterior walls. Interior walls were constructed of wood framing, a layer of
     plywood, and a finish layer of wood/composite paneling. Interior ceilings were constructed
     of wood framing, sheathed with plywood, and finished with wood/composite paneling.
     Interior floor coverings included carpet and vinyl flooring.

     The structure consisted of an attached garage located at the west portion of the structure,
     a kitchen and living room at the center-west portion of the structure, two bathrooms, and
     four bedrooms with a hallway located at the center east and east portions of the structure.
     The northeast bedroom is labeled as Bedroom #1, the southeast bedroom is labeled as
     Bedroom #2, the southwest bedroom was labeled Bedroom #3, and the northwest
     bedroom was labeled as Bedroom #4. Bedroom #1 was the master bedroom, Bedroom
     #2 was occupied by Weston Wadsworth, Bedroom #3 was occupied by Kamille
     Wadsworth, and Bedroom #4 was occupied by Gunner and Layne Wadsworth. A
     basement was located below the structure except for the garage.

     There were four doors that accessed the interior of the structure. The first door was
     located along the north interior wall of the kitchen between the porch and the kitchen. The
     second door was located along the north interior wall of the garage between the exterior
     and the garage. The third door was located along the west interior wall of the kitchen
     between the kitchen and garage. The fourth door was located along the east interior wall
     of Bedroom #2.

     Windows for the structure were metal-framed, double-pane windows. There were glass
     block windows for the basement at the east, south, and north exterior walls.


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     Utilities

     Electrical service was provided to the structure by an overhead service drop to a
     weatherhead, service raceway, meter base, and meter located on the north exterior wall.
     The weatherhead and meter base were approximately 3 feet 5 inches west of the
     Bedroom #4 window. The aluminum service drop conductors were routed from a utility
     pole located to the northeast of the structure. The service drop conductors were severed.
     A portion of the service drop conductors was still intact near the location of the
     weatherhead. The utility pole side service drop conductors had been removed prior to our
     inspection. The meter was not present at the time of inspection. Fire damage occurred to
     the weatherhead, service raceway, and meter base.

     The main disconnect switch was located at the north interior wall of the basement. The
     main disconnect handle indicated it was in the ON position. No fire damage occurred to
     the main disconnect switch.

     The first circuit-breaker panel was located at the north interior wall of the basement below
     the disconnect switch. All circuit breakers and the main circuit breaker were in the ON
     position. There were no tripped circuit breakers. No fire damage occurred to the circuit-
     breaker panel. Copper conductors in non-metallic sheathed cable provided branch circuit
     wiring.

     A second circuit-breaker panel was located along the south interior wall of the basement.
     All circuit-breakers were in the ON position except for the #8 circuit-breaker position
                                              and the #2-4 circuit-breaker position (Labeled #2
     Pump) that were in the OFF position.

     Natural gas service was provided to the structure by a service lateral to a meter and
     regulator located at the south exterior wall of the structure. The meter and regulator were
     present at the time of inspection. The service shut-off valve was in the closed position at
     the time of inspection. No fire damage occurred to the meter, regulator, and service
     piping.

     Observations

     An exterior inspection of the structure was conducted. No fire damage occurred to the
     south and west exterior walls of the garage. Fire damage occurred to the south exterior

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     wall around the living room windows. Fire patterns to the south exterior wall, window, and
     eave were consistent with ventilation from the window and attic. All six windowpanes for
     the living room windows were broken. Fire damage occurred at the south exterior along
     the eaves above the windows for Bedroom #3 and Bedroom #2. The windowpanes were
     intact at the exterior. Evidence of cracks in the windowpanes was observed from the
     exterior that occurred to the interior of the window. There were no ventilation patterns
     around these two windows.

     Fire damage occurred to the east exterior wall. The fire damage occurred around the attic
     vents, eaves, and exterior door. The fire patterns at the south exterior attic vents and door
     were consistent with ventilation from the attic and Bedroom #2. No ventilation patterns
     were observed around the windows for Bedroom #2 and Bedroom #1. These two windows
     were intact.

     Fire damage occurred to the north exterior wall. Fire damage occurred along the eaves
     of the north exterior. No ventilation patterns occurred around the Bedroom #1 window.
     Bedroom #1 window was intact. No fire damage or ventilation patterns were present
     above the two garage roll-up doors. The roll-up doors were intact. A ventilation pattern
     occurred around the exterior garage door located just east of the garage roll-up doors.
     This exterior door and storm door were intact. A ventilation pattern occurred along the
     exterior wall above the garage at the exterior wall of the kitchen and living room above
     the height of the garage roof. Ventilation patterns occurred above the two windows for
     the kitchen. The two kitchen windows were broken. A ventilation pattern occurred above
     the kitchen door. The kitchen door sustained fire damage to the exterior. Oxidation
     patterns were present at the exterior upper right corner, and the timeline of fire department
     operations was consistent with the door being open during fire suppression activities.

     The most severe fire damage along the north exterior wall occurred around and below
     the Bedroom #4 window. Ventilation patterns were present around the window. Mass
     loss of the wood framing, sheathing, and roofing materials occurred around the roof
     eaves. The mass loss of these materials was most severe at the east side of the Bedroom
     #4 window. The eave framing was mostly consumed by the fire at the east side of the
     window. Mass loss of the aluminum window frame occurred at the bottom left (east) side
     of the window frame, and the top portion of the window frame. Mass loss of wood framing
     at the window opening was most severe at the left (east) side of the window frame.

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     Oxidation patterns around and below the window occurred on the surface of the metal
     siding. The metal siding was melted below the left (east) side of the window. Fire damage
     occurred along the rock veneer located below the window. The shape of the fire pattern
     was consistent with a plume-generated columnar pattern. This is due to the fuel package
     below and the lack of a horizontal ceiling that would produce fire patterns such as a V
     pattern along the lower portion of the wall.

     Fire damage occurred below the Bedroom #4 window. A yellow-colored resolidified plastic
     mass was located along the ground and abutted the north exterior stone veneer wall. It
     was determined that the resolidified mass was the remains of a plastic shed. Mass loss
     and consumption of the shed by fire occurred except for the underside, which was in
     contact with the concrete ground. The center of the mass was located more toward the
     left (east) side of the Bedroom #4 window. The remains of a metal-framed chair, portable
     electric heater, and miscellaneous contents were located on top of the resolidified mass.

     An interior inspection of the structure was conducted. No fire damage occurred in the
     basement except for a small area along the north interior wall. This fire damage is
     consistent with fall down to the shelves from a floor vent in the south portion of Bedroom
     #4.

     Fire damage occurred in the garage and all damage increased with proximity to the
     kitchen/garage door. A ventilation pattern occurred on the east interior wall of the garage
     around the kitchen/garage door. This indicated fire progression from the kitchen to the
     garage through the kitchen/garage door. Fire patterns to the kitchen/garage door were
     consistent with this door being open during the fire.

     Fire damage occurred in Bedroom #1. Bedroom #1 was the northeast bedroom in the
     eastern portion of the structure. A ventilation pattern occurred on the south interior wall
     of the bedroom around the bedroom door that indicated fire progression into the bedroom
     from the hallway. A hot gas layer generated pattern occurred on each interior wall. The
     hot gas layer pattern was approximately 2/3 down the wall. The bedroom had two
     windows located along the north and east interior walls. Fire damage occurred to the
     interior windowpanes of the windows. The windowpanes for both windows were intact.

     Fire damage occurred in Bedroom #2. Bedroom #2 was the southeast bedroom in the
     eastern portion of the structure. A ventilation pattern occurred on the north interior wall of

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     the bedroom around the bedroom door that indicated fire progression into the bedroom
     from the hallway. A hot gas layer generated pattern was approximately 2/3 down the wall.
     The bedroom had two windows located along the south and east interior walls. Fire
     damage occurred to the interior windowpanes of the windows. The windowpanes for both
     windows were intact.

     Fire damage occurred in Bedroom #3. Bedroom #3 was the southwest bedroom in the
     eastern portion of the structure. A ventilation pattern occurred on the north interior wall
     of the bedroom around the bedroom door that indicated fire progression into the bedroom
     from the hallway. A hot gas layer generated pattern was approximately 2/3 down the wall.
     The bedroom had one window located along the south interior wall. Fire damage occurred
     to the interior windowpanes of the windows. The interior windowpanes were cracked.
     The cracked windowpane was consistent with the fire damage that occurred to the
     window. The room did not reach flashover conditions and the exterior of the windowpanes
     were intact.

     Fire damage occurred at Bathroom #1. Bathroom #1 was the east bathroom in the
     eastern portion of the structure. A ventilation pattern occurred on the west interior wall of
     the bathroom around the bathroom door that indicated fire progression into the bathroom
     from the hallway. A hot gas layer generated pattern was approximately 2/3 down the wall.

     Fire damage occurred in Bathroom #2. Bathroom #2 was the west bathroom located at
     in the eastern portion of the structure. A ventilation pattern occurred on the east interior
     wall of the bathroom around the bathroom door that indicated fire progression into the
     bathroom. Fire movement patterns indicated fire progression from the hallway into the
     bathroom through the bathroom door during the initial fire growth. Additional fire
     movement patterns and mass loss of the north interior wall continued fire progression into
     the bathroom during the later stages of the fire.

     Fire damage occurred in the Kitchen. The Kitchen was located at the northwest portion
     of the structure. Mass loss of the kitchen cabinets along the south interior wall was most
     severe at the east side toward the hallway. Mass loss of the ceiling sheathing was most
     severe at the ceiling located near the hallway. A hot-gas-layer-generated pattern was
     approximately 2/3 down the wall at the west side of the Kitchen. Fire movement patterns
     within the kitchen indicated fire progression from the hallway into the kitchen. Additional


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     fire movement patterns and mass loss of the east interior wall continued fire progression
     into the kitchen from the closet of Bedroom #4 during the later stages of the fire. Fire
     damage occurred to the exterior kitchen door located along the north interior wall of the
     kitchen. Oxidation patterns were present at the top left of the door. Fire patterns to this
     door indicated that the door was opened during fire suppression activities.

     Fire damage occurred in the living room. The living room was located at the southwest
     portion of the structure. Fire movement patterns along the east and north interior walls
     indicated fire progression from the hallway into the living room. The mass loss of the
     ceiling and attic area above the living room is attributed to ventilation and the delay of fire
     suppression in those areas. The fire damage within the living room was consistent with
     full-room involvement. The windowpanes for the living room windows along the south
     interior wall were broken.

     Fire damage occurred in the bedroom hallway. The bedroom hallway was located at the
     center and east portions of the structure. All fire damage in the hallway increased with
     proximity to Bedroom #4. Mass loss of the wood framing and wall sheathing was most
     severe at the north interior wall and south interior wall around Bedroom #4 door. Fire
     movement patterns along the hallway interior walls indicated fire progression from the
     Bedroom #4 door. Mass loss of several wood framing studs along both the south interior
     and north interior wall toward the ceiling occurred in the direction toward the door. Mass
     loss of the wood framing for the ceiling and the ceiling sheathing was most severe at the
     ceiling just east of Bedroom #4 door. Mass loss of the roof sheathing and framing in the
     attic around this location occurred. Located at the ceiling in the hallway outside the door
     of Bedroom #4 was a whole house fan that penetrated the ceiling and provided a path for
     fire spread into the attic. The whole house fan opening measured approximately 2 feet in
     diameter. Fire progression from the bedroom into the hallway would spread within the
     hallway and into the attic. The loss of the wood studs along the south interior wall of
     Bedroom #4 is not consistent with a pointer and arrow pattern or a V pattern that indicates
     the location of the origin of the fire. The increased mass loss of materials surrounding the
     doorway and attic fan is attributed to ventilation effects. These patterns are the result of
     the increased velocity of flow over combustibles. This is also consistent with a flow path
     between the Bedroom #4 window and door.




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     Fire damage occurred in Bedroom #4 and all fire damage increased with proximity to the
     west side of the bedroom. The fire damage within the bedroom was consistent with full
     room involvement with fire damage to the floor. This is attributed to the descending smoke
     and heat layer because of radiant heat flux, convected heat, and the introduction of
     additional fuel packages within the room during the growth of the fire. Located in the
     bedroom were bunk beds at the northeast corner, a dresser along the east interior wall,
     a toy box in the southwest corner, and a hoverboard located along the west interior wall.

     Fire damage occurred to the north interior wall of Bedroom #4. The north interior wall
     was insulated with fiberglass insulation and provided thermal protection to the wood
     framing during the fire. This would lessen the fire effects and fire damage to the wood
     wall framing. Mass loss of the wood framing was most severe at the east side of the north
     interior wall and occurred at the location of the bunk beds. Mass loss of the window
     opening was most severe at the east (right) side of the window.

     Fire damage occurred to the east interior wall of Bedroom #4. There was a heat shadow
     and protected area fire patterns on the east wall consistent with the shape of the bunk
     beds. Fire movement patterns along this wall were consistent with fire progression from
     the north. There is less fire damage to the wall studs along the east interior wall as
     compared to the north, south, and west interior walls.

     Fire damage occurred along the south interior wall of Bedroom #4. Mass loss of several
     wood framing studs for the interior wall were consumed by the fire near the top portion of
     the wall near the door. The damage to the south interior wall of the bedroom was
     attributed to the increased ventilation effects.

     The most severe fire damage to the interior of the bedroom was located in the west portion
     of the bedroom. The increased damage at the west portion of the bedroom continued
     from the north wall to the south wall. The two vents for this bedroom included the window
     located along the north exterior wall and the bedroom door located along the south interior
     wall. The increased damage at the west portion compared to the east portion of the
     bedroom is consistent with ventilation effects and the flow path that developed between
     the window and the bedroom door during the growth and spread of the fire within the
     bedroom. This flow path increased the ventilation effects of the materials at the west side
     of the bedroom.


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     Fire damage occurred to the west interior wall of Bedroom #4. Mass loss of one wood
     stud occurred in two stud locations from the corner of the west interior wall and the closet.
     An area of unburned wood paneling was present along the west interior wall that indicated
     the location of a hoverboard. The lack of fire damage near floor level is consistent with
     this area being protected by the hoverboard. Located above the location of the
     hoverboard along the west interior wall was an inverted cone pattern. No V pattern was
     observed on the west interior wall. The inverted cone pattern was present at the opposite
     side of the interstitial wall along the west interior wall. The inverted cone pattern is
     consistent with the fuel package of the hoverboard. The inverted cone pattern is not
     consistent with a V pattern or an extension of a V pattern.

     Fire damage occurred to the ceiling and the attic space above the ceiling of Bedroom #4.
     Fire damage increased with proximity to the area around the window. One ceiling joist
     above the window was consumed by the fire.

     The remains of the hoverboard were discovered along the west interior wall of the
     bedroom. The location of the hoverboard measured approximately 36 inches from the
     bedroom door. The door was approximately 36 inches wide. The position of the
     hoverboard indicated the hoverboard was on the carpet floor in contact with the west
     interior wall. This is consistent with the unburned wood paneling at floor level. The
     hoverboard was positioned with one tire to the south and one tire to the north. Fire
     damage occurred to the hoverboard, and all fire damage increased with distance towards
     the north side. The south wheel was less consumed by the fire as compared to the north
     wheel. Fire movement patterns indicated fire progression from the north. The carpet
     below the hoverboard was intact and consistent with a protected area. The top portion of
     the hoverboard sustained more severe fire damage as compared to the bottom. Internal
     wiring and components sustained damage towards the top of the hoverboard with less
     fire damage towards the bottom. There was undamaged wire insulation within the
     hoverboard. The lack of internal damage throughout the hoverboard, the protected area
     of the carpet below the hoverboard, and fire patterns to the hoverboard are not consistent
     with a fire origin at the hoverboard. There is no indication that the fire originated at the
     hoverboard along the west interior wall of the bedroom.




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     Inspection of Exterior and Shed

     An inspection of the items along the north exterior wall of the structure was conducted.
     The remains of a plastic shed were present along the north exterior wall of the structure
     below the Bedroom #4 window.

     Located around the remains of the plastic shed at the north exterior of the structure
     included a large water bowl with de-icer, a propane tank, a wood-log chair, an exterior
     receptacle, three extension cords, miscellaneous contents, and the remains of cigarette
     butts.

     A large blue water bowl was located to the east of the shed. The top portion of the water
     bowl was melted and resolidified. The lower portions of the water bowl were intact. The
     damage to the water bowl is consistent with water in the bowl at the time of the fire. A de-
     icer was found submerged in the water bowl. The de-icer was plugged into a yellow
     extension cord that was routed from a pole near the recreational vehicle parked to the
     north of the structure. The de-icer is a submersible electric heater that prevents water
     from freezing. The de-icer was identified as a Model C-50 and was manufactured by Farm
     Innovators. No fire damage occurred to the de-icer.

     A propane tank was located next to the water bowl. The propane tank and valve were
     intact. Fire damage occurred to the west side of the tank that faced towards the shed.
     There are no fire patterns around the propane tank consistent with the burning of any
     escaping gas. There is no indication that propane escaped or was vented from the
     propane tank during or before the fire.

     The wood-log chair was located on the north side of the shed. The majority of the fire
     damage to the wood-log chair was at the south and southeast sides facing the shed.

     The remains of cigarette butts were observed on the ground near the location of the shed
     and around the porch. Many of these cigarette butts included areas that contained other
     combustible trash and miscellaneous items. Miscellaneous items were on the ground
     surrounding the porch. No fire damage occurred to these items.

     Located along the north exterior wall of the structure, just east of the porch stairs and
     west of the shed, was an exterior duplex receptacle and a single receptacle. Fire damage
     occurred on the east side of the duplex receptacle junction box. No fire damage occurred

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     to the duplex and single receptacle. Two extension cords, one yellow and one orange in
     color, were plugged into the duplex receptacle. Fire damage occurred to the extension
     cords near the area of the duplex receptacle. The fire damage was consistent with an
     external fire attack.

     The orange extension cord was located at the top of the duplex receptacle. This extension
     cord was routed along the ground from the receptacle to the shed and entered the shed
     at the northeast corner. The extension cord was routed to the interior of the shed to the
     portable electric heater located at the northeast corner of the shed. Fire damage occurred
     to this extension cord with the most severe fire damage at the location where it entered
     the shed.

     A yellow extension cord was located at the bottom of the duplex receptacle. This
     extension cord was routed from the receptacle to a post near the recreational vehicle
     located to the north of the structure. The majority of the extension cord was not damaged
     by fire except for a small section near the location of the receptacle.

     An additional yellow extension cord was routed from the post location to the de-icer in the
     water bowl to the east of the shed. Fire damage occurred to this extension cord around
     the location of the water bowl and where it was routed at the east side of the shed.

     An inspection of the shed was conducted. The remains of a shed were located along the
     north exterior wall just below the Bedroom #4 window. The remains of the shed included
     a pool of resolidified mass. The plastic shed was identified as an outdoor storage
     container, which was designed to store 55-gallon drums. The shed was yellow in color.
     The material was manufactured from high-density polyethylene. A sample of the shed
     was removed from the resolidified mass of the shed. The sample was analyzed utilizing
     Fourier-Transform Infrared Spectroscopy (FTIR). The FTIR test confirmed the material
     was polyethylene.

     The shed measured 57 ½ by 57 ½ by 72 inches and abutted the north exterior wall. The
     height of the north exterior wall stone veneer was 75 inches, the height of the metal siding
     and bottom of the Bedroom #4 window was 87 inches, and the height of the top of the
     window was 121 inches. The height of the shed did not reach the height of the stone
     veneer. The top of the shed did not reach the bottom of the window or top of the window.
     The shed was slightly offset from the center of the window towards the east.

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     Located within the remains of the shed were the remains of a portable electric heater, an
     extension cord, a light fixture base, one ashtray, two chairs, an end table with drawers,
     cigarette packaging, cigarette lighters, and miscellaneous contents. Fire damage
     occurred to all the interior contents, and the majority of all combustibles except for the
     bottom of the shed were consumed by the fire.

     The remains of a portable electric heater were found within the shed. The portable electric
     heater was located at the northeast corner of the resolidified mass. The portable electric
     heater was identified as a model CZ250 1500-watt electric shop heater manufactured by
     Comfort Zone. The portable electric heater was equipped with overheat protection and
     had three settings, including fan, low and high. Fire damage occurred to the portable
     electric heater. An extension cord was observed around the remains of the portable
     electric heater. Evidence of arcing was observed at several locations on the extension
     cord/power cord for the portable electric heater.

     The remains of one ashtray were found in the fire debris. The ashtray measured
     approximately 3 1/4 inches in height and had a diameter of approximately 4 inches. The
     burned remains of cigarette butts were observed in the ashtray debris. The remains of
     the cigarette butt bucket, as described by the Wadsworth family, were not found in the
     fire debris. If the bucket was made of a combustible material the bucket may have been
     consumed by the fire.

     Arc Survey/Mapping

     An arc survey and arc mapping analysis of the building s fixed electrical system and
     associated components was conducted. An arc survey concluded that there were no
     locations of arcing within the interior of the structure. An electrical arc occurred at the
     portable electric heater extension/power cord located at the interior of the shed. Located
     above the shed were the incoming conductors for the overhead service drop. These
     conductors were severed/melted over the location of the shed. Once the overhead
     conductors are severed, there is no longer electrical power to the structure. Once
     electrical power is disconnected, no arcing can occur on any component that is connected
     to the building's fixed electrical system. Arc mapping analysis can aid in the determination
     of the origin of the fire. It was determined that the arc to the extension cord and power
     cord for the portable electric heater in the shed occurred first and then was followed by


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     the loss of power to the structure. Arc mapping analysis is consistent with the origin of the
     fire at the interior of the shed.

     Burn Test of Shed

     A test burn of the shed was conducted by Mr. Greg Gorbett with Fire Dynamics Analysts.
     The video of the testing was reviewed. The test indicated that the shed burns and would
     cause the fire plume to intersect the window and overhead service drop. The patterns
     produced by the burning of the shed along an exterior wall are consistent with the shape
     of the fire pattern present along the north exterior wall of the structure.

     Fire Modeling

     Fire modeling of the structure fire was conducted by Mr. Gorbett with Fire Dynamics
     Analysts. The fire models were developed with an interior fire origin and an exterior fire
     origin. The fire models are consistent with an origin hypothesis at the exterior of the
     structure.

     Items Collected

     The following item was collected by Rimkus during the joint site inspection on August 3,
     2022:

             Exhibit 1: Window.

     The following item was collected by Rimkus during the joint evidence examination on
     October 30, 2022:

             Exhibit 2: Sample of shed material.

     The following item was collected by IC Specialty Services on February 4, 2022:

             Item 1: Fire-damaged hoverboard.

     The following items were collected by IC Specialty Services on August 2, 3, 4, 2022:

             Item 1: Smoke Detector.

             Item 2: Smoke Detector.


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             Item 3: Smoke Detector.

             Item 4: Smoke Detector.

             Item 5: Smoke Detector.

             Item 6: Smoke Detector.

             Item 7: Smoke Detector.

             Item 8: Smoke Detector.

             Item 9: Smoke Detector.

             Item 10: Mattress - northeast bedroom.

             Item 11: Mattress - northeast bedroom.

             Item 12: Remnants of smoke detector - SW bedroom.

             Item 13: Battery from SW bath/bedroom 8.75 V               .

             Item 14: Debris from behind refrigerator.

             Item 15: Battery SW bedroom 8.47 V.

             Item 16: Motor from the threshold for bedroom #4.

             Item 17: Smoke alarm base - garage, west wall              .

             Item 18: Smoke detector base           basement.

             Item 19: Weatherhead.

             Item 20: Electrical circuit and breaker - bedroom #4.

             Item 21: Electrical circuits - bedroom #4.

             Item 22: Electrical receptacle        garage.

             Item 23: Face plates - bedroom #4.


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             Item 24: Circuit-breaker - east exterior electrical receptacle.

             Item 25: Charging cords      kitchen.

             Item 26: Debris from floor of closet - bedroom #4.

             Item 27: Floor debris - bedroom #4.

             Item 28: Solid debris - exterior, east side of the structure.

             Item 29: Solid debris - exterior, east side of the structure.

             Item 30: Refrigerator.

             Item A1a: Debris.

             Item A1b: Smoke detector components.

             Item A1c: Carpet and miscellaneous debris.

             Item A2a: Debris.

             Item A2b: Miscellaneous.

             Item A3a: Debris.

              Item A3b: Miscellaneous.

              Item B1a: Debris.

              Item B1b: 2 battery cells (hoverboard).

              Item B1c: Miscellaneous debris.

              Item B2a: Debris.

              Item B2b: Debris.

             Item B3a: Debris.

             Item B3b: Debris


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             Item B3c: Debris

             Item B3d: Debris

             Item B3e: Miscellaneous.

             Item C1a: Debris.

             Item C1b: Miscellaneous.

             Item C2a: Debris.

             Item C2b: Miscellaneous.

             Item C3a: Debris.

             Item C3b: Debris.

             Item C3c: Miscellaneous.

             Item D1a: Debris.

             Item D1b: Miscellaneous.

             Item D2a: Electrical wiring.

             Item D2b: Portable heater and associated electrical.

             Item D2c: Extension cord.

             Item D2d: Ashtray.

             Item D2e: Miscellaneous debris and electrical components.

             Item D2f: Light component.

             Item D2g: Aluminum wiring from beneath the weatherhead.

             Item D2h: Extension cord and electrical receptacle.

             Item D2i: Miscellaneous debris.


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             Item D2j: Miscellaneous debris.

             Item D2k: Miscellaneous debris.

             Item D2l: Debris from above the solid mass.

             Item D2m: Debris.

             Item D2n: Debris.

     The item numbers with a letter/number/letter are the locations of the evidence that was
     collected from the grid patterns from the interior of Bedroom #4 and at the exterior of the
     structure.

     Fire Department Reports

     The Green River Fire Department incident report number 2022-46 was reviewed. The
     incident report indicated that the fire call was received on February 1, 2022, at 4:27 a.m.
     and the first unit arrived at 4:37 a.m., which was the chief officer's car. Engine E-2 arrived
     at approximately 4:42 a.m., and Engine E-22 arrived at approximately 4:50 a.m. Fire
     department personnel had arrived on scene in personal vehicles, but the engines did not
     arrive as indicated on the incident report in comparison to the sheriff's video. The report
     indicates that the fire was attacked offensively until water became an issue.

     The Sweetwater Fire District 1 incident report number 2022-28 was reviewed. The
     incident report indicated a mutual aid request at 5:23 a.m., and the tanker E-203 arrived
     at 5:39 a.m. The report indicates that mutual aid was requested for additional water and
     manpower. The Sweetwater Fire District did not arrive on site until approximately 1 hour
     after the original call to the Green River Fire Department.

     Sheriff Report

     The Sweetwater County Sheriff incident report number S22-01535 was reviewed. The
     incident report indicated that the fire call was received on February 1, 2022, at 4:27 a.m.
     The first Sheriff officer to arrive was Officer John Hansen and the first fire unit arrived on
     February 1, 2022, at 4:38 a.m.




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     Weather Information

     Historical     weather      data      was     reviewed      at    Weather     Underground,
     https://www.wunderground.com/history, for Rock Springs, Wyoming on February 1, 2022.
     The following is a summary of the information obtained:

             Around the time of the fire, the temperature was recorded at 11 degrees
             Fahrenheit. Wind speeds were sustained at 12 miles per hour (mph), and winds
             were blowing from the west-southwest. The conditions were described as fair.

     Witness Statements/Interviews/Depositions

     There were five individuals who witnessed the fire event except for responding fire
     department and sheriff department personnel. The witnesses included Ms. Wadsworth
     (Mother), Kamille Wadsworth (Daughter, Age: 12), Gunner Wadsworth (Son, Age: 8),
     Layne Wadsworth (Son, Age: 6), Weston Wadsworth (Son, Age: 4). Ms. Wadsworth,
     Kamille, Gunner, Layne, and Weston were at home at the time of the fire. The fifth witness
     was Mr. Ryan Pasborg who discovered the fire while driving by the structure. The
     following is a summary of the information obtained from body-worn/dashcam cameras,
     formal witness interviews, and depositions per witness:

     Gunner Wadsworth:

     The                                           body-worn camera video named 2022-02-01,
     Axion Flex 2 X83117281 was reviewed. The body-worn camera was recorded on
     February 1, 2022, during the fire event and recorded the conversations between the
     witnesses and the sheriff officer. The following information was obtained from the video:

             Gunner was in his bed right next to the fire. He was asleep when the fire happened.

     The formal interview with Gunner Wadsworth conducted by Detective Jeff Sheaman with
                                         Office on March 4, 2022, was reviewed. The following
     is a summary of the information obtained from this interview:

             Gunner Wadsworth was the first individual to discover the fire. Gunner Wadsworth
             had been sleeping on the top bunk bed in Bedroom #4. The bunk beds were
             located along the north interior wall of Bedroom #4.


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             Gunner Wadsworth first stated the fire was behind him, it melted through the
             window, and moved up the wall. Gunner Wadsworth stated that the fire was not by
             his brother Layne Wadsworth, and it was just by him. He remembers waking up to
             the fire going, the fire being hot behind his back, and jumping out of bed with his
             blanket.

             Gunner Wadsworth reported that he went to wake up his sister Kamille Wadsworth
             to inform her of the fire, but reported Kamille initially thought it was a joke.

             Gunner Wadsworth remembers seeing the fire behind him after he woke up. After
             being asked by Detective Jeff Sheman where he saw fire in the room, Gunner
             Wadsworth stated the fire was by the window. By the time he woke up, there was
             no window, there were only two pieces of window, and the two pieces were on his
             bed because they melted off the window frame. Detective Jeff Sheaman then asks
             where is the fire in the room compared to where they were at in bed, and Gunner


             located. Detective Jeff Sheaman asked what made Gunner think that and Gunner
             Wadsworth responded because when he went to the bathroom, the door hit the
             hoverboard. Gunner Wadsworth stated that 30 minutes later after returning from
             the bathroom, the fire traveled into the wall, moved up, and melted the glass
             window.

             Gunner Wadsworth stated that he went to the bathroom across the hallway from
             Bedroom #4 at 3:30 a.m. He left the door open before returning to bed. He did not
             notice or smell anything when he exited or entered the room at approximately 3:30
             a.m. The hoverboard was located behind the bedroom door and the hoverboard
             was unplugged. The hoverboard was plugged in when they went to bed, but he
             thinks his mother unplugged the hoverboard. They had used the hoverboard that
             evening for at least two hours prior to going to bed. The power cord used to charge
             the hoverboard was also behind the bedroom door near the location of the
             hoverboard along the west interior wall. The charger would have been plugged into
             the receptacle behind the door.

             Gunner Wadsworth stated they did not have any problem getting out of the room
             with the fire. Gunner Wadsworth stated that they did not see any fire by the


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             bedroom doorway. Gunner said he only saw half the hoverboard. He did not see
             any flames or fire coming fro



             After exiting the bedroom, they went to wake up his mother and Kamille. Kamille
             was in her bedroom and made her way to the living room. Eventually, they made
             it into the kitchen, and Layne began putting his coat and boots on, and Gunner
             started to sit down for breakfast in the kitchen. Then upon trying to exit through the
             front kitchen door, he noticed and the whole porch was on fire.

             Gunner Wadsworth stated that they exited the kitchen through the kitchen/garage
             door. He did not see any flames anywhere else in the house before they left the
             bedroom and the house. There was smoke inside the house prior to leaving.

     The deposition of Gunner Wadsworth conducted on May 20, 2024, was reviewed. The
     following is a summary of the information obtained from the deposition:

             Gunner Wadsworth stated that he was awoken by his brother Layne Wadsworth
             alerting him to the fire. The first place he saw the fire was by the bedroom window.
             He remembered two shards of glass in the bed. He remembers feeling heat on
             his back while lying in bed towards the window. When he was leaving his bedroom,
             he saw flames near the hoverboard.

             Gunner Wadsworth stated he exited the house, saw fire at the outside of the
             bedroom window, the top of the shed was on fire, the front porch was on fire, and
             the wood-log chair next to the shed was on fire.

             Gunner Wadsworth stated that he had been in the shed before and there were two
             chairs and a bucket of cigarette butts.

             Gunner Wadsworth stated that he did not see the shed on fire from the bedroom
             window, only after exiting the house, he saw the shed on fire.

             Gunner Wadsworth stated that he just saw fire at the window when he got up. He
             also reported that the comforter on the bed was on fire.




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             Gunner Wadsworth stated Layne Wadsworth had a stash of batteries, batteries
             removed from broken toys in the corner by the bedroom door, he saw a battery
             blow out towards the window, and the window was already broken and on fire.

             Gunner Wadsworth stated that when he exited the house, he saw the top of the
             shed on fire, it was melting from the top down. He also reported seeing the dog
             water bowl next to the shed on fire.

     Lane Wadsworth:

                                                   body-worn camera video named 2022-02-01,
     Axion Flex 2 X83117281 was reviewed. The body-worn camera was recorded on
     February 1, 2022, during the fire event and recorded the conversation between the
     witnesses and the sheriff officer. The following information was obtained from the video:

             Layne stated he (Gunner) was right next to the fire, and he (Layne) was under the
             window.

     The formal interview with Layne Wadsworth conducted by Detective Jeff Sheaman with
                                         Office on March 4, 2022, was reviewed. The following
     is a summary of the information obtained from this interview:

             Layne was on the bottom bunk bed within Bedroom #4 at the time of the discovery
             of the fire. Layne stated he was right next to the wall where it was but there was
             a giant shed. He was awoken by the smoke alarms. Layne stated he did not feel
             the heat on his back heat like his brother Gunner Wadsworth. Layne Wadsworth
             did smell smoke. He remembers seeing the wall and the door there was a glow.

             Layne Wadsworth stated while leaving the room he did not see any fire at the
             bedroom doorway. He did not see any fire or flames coming from the hoverboard.
             He saw part of the hoverboard gone.

             Layne states that after leaving the bedroom, they tried to explain to Kamille what
             happened, and states that Kamille looked out our bedroom window where there
             was a glow.




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             When the front kitchen door was open, Layne stated that he did not see the whole
             porch on fire. He did not see any flames anywhere else in the house before they
             left the bedroom but then did say there was a flame going to the living room. Layne
             stated that they exited the kitchen through the garage door.

     The deposition of Layne Wadsworth conducted on May 20, 2024, was reviewed. The
     following is a summary of the information obtained from the deposition:

             Layne Wadsworth stated that he awoke because the bedroom window broke and
             saw fire around the window. He also saw fire at the hoverboard, the carpet along
             the wall leading from the hoverboard to the closet, inside the closet, and a little bit
             on the ceiling above the window and seeping out from where the window was
             underneath the top bunk.

             Layne Wadsworth stated that he then went to the living room to wake up his
             mother. Eventually, Gunner, Kamille, and himself make their way to the kitchen.
             His mother opened the kitchen door and said a bad word. They exited through the
             garage door and went outside. When outside he saw the north wall and front porch
             on fire. He stated that the shed was no longer there, it was gone, and the roof was
             on fire.

             Layne Wadsworth stated that a spark landed on his blanket on his bed and that it
             came from a small piece of the window that was showing.

     Kamille Wadsworth

                                                   body-worn camera video named 2022-02-01,
     Axion Flex 2 X83117281 was reviewed. The body-worn camera was recorded on
     February 1, 2022, during the fire event and recorded the conversation from the witnesses
     and the sheriff officer. The following information was obtained from the video:

             Kamille stated that the fire started in the shed area. The officer asks Kamille what
             may have started the fire. Kamille responds no it was outside by the shed and it
             was coming from the shed. Afterward, she stated that it could be that because her
             parents smoke in the shed, but they always put out the smoke (cigarette). Later,
             while on the phone, Kamille Wadsworth stated the fire started out on the porch.


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     The formal interview with Kamille Wadsworth conducted by Detective Jeff Sheaman with
                                         Office on March 4, 2022, was reviewed. The following
     is a summary of the information obtained from this interview:

             Kamille Wadsworth stated she woke up from the smoke alarms and heard her
             brother Gunner Wadsworth screaming at the same time. She got up from bed and
             saw a yellow glow that you see from a fire in Bedroom #4. She looked into the
             room and saw a big fire, and the fire was by the window by the bunk beds.

             She then went to the living room to wake up her mother. She stated that her mother
             got up and all of them went to the kitchen. Her brother Gunner Wadsworth sat in
             his chair as if he was about to eat breakfast. Then her mother went to get her
             brother Weston Wadsworth. She noticed the smoke getting thicker and she told
             the boys to get out of the house. Kamille, Gunner, and Layne Wadsworth exited
             through the garage door and then someone showed up and got Weston and Ms.
             Wadsworth out of the house. She stated she did not go out through the front door
             because the fire was on the outside of the house. She looked outside the window
             and noticed the fire by the shed. Ms. Wadsworth opened the main door and there
             was fire by the front door. She stated that she wondered why would you open the
             door when there is fire out there.

             Kamille Wadsworth stated that after exiting the house, they were outside and
             seconds later the individual showed up and helped Ms. Wasdsworth and Weston
             Wadsworth get out of the house.

             Kamille remembers using the hoverboard the day before the fire. The hoverboard
             still had two lights illuminated indicating that it was charged, and she placed it
             behind the door of Bedroom #4.

     The deposition of Kamille Wadsworth conducted on May 20, 2024, was reviewed. The
     following is a summary of the information obtained from the deposition.

             Kamille Wadsworth stated that she was awoken by the fire alarms. She exited her
             bedroom and went to the living room and Gunner and Layne were trying to wake
             up their mother. She yelled at her mother that there was a fire. She did not recall
             any smoke in the hallway, and there was a glow of the fire on the opposite wall of

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             the bedroom. When she passed Gunner and Layne's bedroom, she saw fire and
             the bed was on fire.

             Kamille Wadsworth stated that they made it to the kitchen, and she was waiting for
             her mother to come down the hallway. She stated that she now sees smoke
             everywhere. She did not see any fire in the hallway. She heard a loud bang and
             the smoke got thick and they left through the garage door.

             Kamille Wadsworth stated that before they exited, her mother went to go get
             Weston, and when her mother tried opening the front door, there was heat or fire
             in front of the door. After exiting through the garage door, she saw that the shed
             was in the process of melting. She also indicated that Mr. Pasborg arrived within
             1 to 5 minutes after exiting the house.

             Kamille Wadsworth described the interior of the shed and the shed contained two
             chairs, a heater, an ashtray, and a bucket of cigarette butts.

             Kamille Wadsworth stated that when she was outside, she saw the entire shed
             and it was not melted, she did not see the roof, overhang, or any other portion of
             the exterior on fire. Later she said the wood-log chair next to the shed was on fire
             a little bit.

     Ryan Pasborg

                                                   body-worn camera video named 2022-02-01,
     Axion Flex 2 X83117281. This camera belonged to Officer Ashley Merrell and was
     reviewed. The body-worn camera was recorded on February 1, 2022, during the fire event
     and recorded the conversation between the witnesses and the Sheriff's officer. The
     following information was obtained from the video:

             Mr. Pasborg had been traveling towards Green River, Wyoming from Jamestown,
             Wyoming when he saw flames. When he arrived the girls and two boys were
             outside. He asked them if anyone else was inside, and they responded their
             mother. He entered and pulled her out of the kitchen.




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             When he got there it looked like the flames started on the outside or in the exterior
             wall. The officer responded that the kids said the parents smoke in the shed and
             she wondered if they did not put the cigarette out.

     The formal interview with Mr. Pasborg conducted by Detective Jeff Sheaman with the
                                     Office on February 1, 2022, was reviewed. The following is
     a summary of the information obtained from this interview:

             Mr. Pasborg stated that he left Jamestown, Wyoming, and was heading toward
             Green River, Wyoming on Highway 374. As he approached the subject residence,
             he first saw the fire and thought someone was burning trash. He stated that he
             saw fire on the north side of the structure. He noticed three kids exiting the house
             from the garage. He asked if anyone was in the house, and they reported they
             could not find their brother. He then entered the house from the garage into the
             house.

             Mr. Pasborg stated he made it a foot and a half into the door and found the boy.
             He removed the boy from the house and took him outside. He remembers seeing
             smoke in the house and the smoke alarm going off.

             Mr. Pasborg stated that after returning the child to his vehicle, he asked the
             children if anyone else was inside and the kids responded to their mother. He re-
             entered through the same garage door to the kitchen and found her about 6 feet
             from the door (kitchen).

             Mr. Pasborg stated that when he arrived at the house, he parked his vehicle at the
             northwest corner of the structure on the driveway. The flames were at the outside
             along the north exterior wall. He indicated that he saw the dry grass on fire, and
             the flames were going up the side of the exterior wall. He did not mention the shape
             of a shed.

             Detective Jeff Sheaman, during the interview, had been discussing fire
             investigations, fire patterns, and the hoverboard.       After this discussion, Mr.
             Pasborg stated that the only thing that threw his red flag as a firefighter was that
             he saw flames at the exterior, he did not know if they were coming out of the



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             window or through the wall already, but the first thing he noticed was the grass on
             fire on the outside of the house below the Bedroom #4 window.

     The deposition of Mr. Pasborg conducted on November 15, 2023, was reviewed. The
     following is a summary of the information obtained from the deposition:

             Mr. Pasborg stated that he was driving along Highway 374 when he saw flames
             and thought it was odd that someone was burning trash at 4:00 a.m. He eventually
             realized that the fire was at a structure, pulled into the driveway, and parked his
             vehicle at the northwest corner of the house.

             Mr. Pasborg saw flames coming out of the bedroom window and rolling up to the
             roof. He noticed a fire on the ground below Bedroom #4. Mr. Pasborg reported
             that the flames on the ground must have just started because the flame height was
             about to his calf. Mr. Pasborg opined that the flames had originated at ground
             level from melted siding, asphalt shingles, or something from the roof eave.
             Initially, Mr. Pasborg recalled seeing the shed, however, changed his observation
             recollection and stated that he did not recall seeing the shed, seeing the fire outside
             the window, remembered seeing the flames on the ground.

             Mr. Pasborg entered the garage from the exterior garage door located at the north
             exterior of the structure. Then he proceeded through the door between the garage
             and kitchen. Upon entering, Mr. Pasborg stated he saw flames coming down the
             walls, flames rolling through the roof, and a lot of smoke within the kitchen.

             Mr. Pasborg indicated that when he arrived the kids were in a walking position,
             they were not standing, and they had just exited the house.

     The deposition of Ms. Wadsworth conducted on February 27, 2024, was reviewed. The
     following is a summary of the information obtained from the deposition:

             Ms. Wadsworth stated that she smoked about a pack of cigarettes a day. She
             indicated that she and Mr. Wadsworth used the shed in the winter to smoke
             cigarettes. Ms. Wadsworth admitted to using the shed to smoke cigarettes multiple
             times throughout the day prior to the fire.




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             Ms. Wadsworth stated that there were two ashtrays in the shed. One ashtray was
             made of clay, and the other ashtray was made of cast iron. She reported that she
             would empty the ashtrays when full, which was every couple of days.                Ms.
             Wadsworth stated that she discarded the cigarette butts from the ashtray to the
             bucket. The bucket was approximately 1 foot by 1 foot by 6 inches and was used
             to empty the fireplace.

             Ms. Wadsworth described the interior contents of the shed as containing a plastic
             chair at the southeast corner, a nightstand in the northeast corner, a wooden chair
             in the northwest corner, a portable electric heater, and a blanket.

             Ms. Wadsworth stated that she went to bed at approximately 2:00 a.m., and that
             she usually has a cigarette before going to bed.

             Ms. Wadsworth was awoken by her children but could not recall the location of the
             fire. She went to the kitchen for a fire extinguisher and realized that it was too late
             for a fire extinguisher. She recalled she opened the front kitchen door and a blast
             of fire came in from the outside through the door.

             Ms. Wadsworth indicated that after closing the kitchen door, she left the kitchen,
             and traveled down the bedroom hallway to Weston Wadsworth              bedroom. She
             did not recall any smoke in the hallway while traveling
             bedroom. Upon her return from Weston bedroom to the kitchen, she recalled fire
             in the hallway, and fire was even on the floor. Ms. Wadsworth recalled that Weston
             attempted to open the front kitchen door and burned his hand on the door handle.

             Ms. Wadsworth stated that she looked into Bedroom #4 and saw fire everywhere
             in the bedroom. She also recalled seeing fire on the ceiling in the kitchen, the front
             wall of the kitchen, and around the kitchen door. She recalled fire coming from
             around the door but does not remember seeing fire on the outside.

     The Green River Fire Department, Sweetwater County Fire District 1, and the Sweetwater


     information obtained from the depositions of Officers John Apostolope, John Hansen,
     Ashley Merrell, Richard Kaumo, and Jacob Ribordy:



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     John Apostolope

     The deposition of Officer Apostolope, Jr. from the Green River Fire Department
     conducted on February 2, 2024, was reviewed. The following is a summary of the
     information obtained from the deposition:

             Officer Apostolope was the first fire department personnel to respond to the
             incident. He indicated that he arrived approximately 1 minute prior to Sweetwater
             County Sheriff Officer Hansen. Upon arrival, he located himself on the north side
             of the house. Mr. Apostlolope did not recall a shed burning at the north exterior
             and observed a fire within the structure.

     John Hansen

     The deposition of Officer Hansen from the Sweetwater County                  Office conducted
     on February 2, 2024, was reviewed. The following is a summary of the information
     obtained from the deposition:

             Officer Hansen arrived on scene and assisted fire department personnel. Mr.
             Hansen observed the overhead service drop conductors were already on the
             ground while walking toward the northeast corner of the structure. Mr. Hansen
             stated that there was fire coming from the house but could not remember if there
             was fire outside the house.

     Ashley Merrell

     The deposition of Officer Merrell from Sweetwater County                  Office conducted on
     February 2, 2024, was reviewed. The following is a summary of the information obtained
     from the deposition:

             Officer Merrell conducted interviews with Mr. Pasborg and the children in the
             vehicle. Officer Merrell did not walk to the north side of the structure during the fire
             event. Officer Merrell remembered the children stating that the fire started out at
             the shed and that the shed was used as a smoking shed.




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     Richard Kaumo

     The deposition of Officer Kaumo from the                                           conducted
     on January 29, 2024, was reviewed. The following is a summary of the information
     obtained from the deposition:

             Officer Kaumo indicated that he did not perform any fire investigation; however,
             from his perspective, he thought the fire originated in the interior of the house.

     Jacob Ribordy

     The deposition of Officer Ribordy with the Sweetwater County Fire District 1 conducted
     on February 2, 2024, was reviewed. The following is a summary of the information
     obtained from the deposition:

             Officer Ribordy responded to the fire incident with a fire tanker. Officer Ribordy
             stated he did not enter the house during suppression or the subsequent
             investigation. His observations were from the exterior of the house. Officer Ribordy
             stated that he agreed with Sweetwater County Sheriff Officer Jeff Sheaman
             opinion that the fire started at the interior of the structure. Officer Ribordy stated
             that the exterior fire he observed was a little bit of fire and that the fire was
             impinging on the eaves. He reported that they extinguished a fire in the living room
             and the attic. He further stated that there were no ignition sources on the exterior
             of the building.

     Matthew Wadsworth

     A telephone interview with Mr. Wadsworth was conducted by Detective Jeff Sheaman.
     The following is a summary of the information obtained during the interview:

             Mr. Wadsworth indicated that the boys were awoken from the heat of the fire. The
             boys, Gunner and Layne Wadsworth woke up from the fire and then went into the
             living room to wake up their mother. Ms. Wadsworth sent the boys and Kamille
             outside to the garage, and she went to get Weston down the hall. Mr. Pasborg
             arrived, and he went inside to get Ms. Wadsworth and Weston Wadsworth.




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             Mr. Wadsworth indicated that when the boys told him about the fire, the boys
             noticed fire was on the window and wall, and the heat on their backs woke them
             up.

             When Detective Jeff Sheaman states that his opinion was the origin and cause of
             the fire was the hoverboard, Mr. Wadsworth states that some of them considered
             that the fire was outside the bedroom window at the shed. Mr. Wadsworth stated
             that the shed was gone, that they had a space heater in the shed that was turned
             on and off, and the shed was where they smoked. Mr. Wadsworth never left the
             space heater on because it was too expensive.

     An interview with Mr. Wadsworth was conducted during the August 2 and 3, 2022, joint
     inspection. Mr. Wadsworth was at work and did not witness the fire. The following is a
     summary of the information obtained from this interview:

             Mr. Wadsworth indicated the placement of the two chairs, nightstand, portable
             electric heater, and metal bucket for the ashtray within the shed. The metal/plastic
             chair was located in the southeast corner, the nightstand was located in the
             northeast corner, and the wood chair was located in the northwest corner. The
             metal bucket for the ashtray was located between the wood chair and the
             nightstand along the north interior wall of the shed. The portable electric heater
             was located on the nightstand. There were also a couple of other ashtrays in the
             shed.

             Mr. Wadsworth stated that there were several smoke detectors throughout the
             structure, including hallway (2), garage (1), basement (1), living room (1), and each
             bedroom. Carbon Monoxide detectors were located in the hallway and kitchen.

             Mr. Wadsworth identified the portable electric heater was identified as a Comfort
             Zone model CZ250 1500-watt portable electric heater purchased from Bomgaars.

     The deposition of Mr. Wadsworth conducted on February 26, 2024, was reviewed. The
     following information was obtained from this deposition:

             Mr. Wadsworth stated that both Ms. Wadsworth and he smoke cigarettes. They
             never smoke inside the house and always smoke outside. A plastic shed was


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             placed along the north exterior wall of the house and was used as a smoking shed
             in winter during cold temperatures.

             Mr. Wadsworth had received the shed from a prior job at Baker Hughes. The shed
             was described as a 55-gallon drum storage shed. The shed was identified as the
             Eagle 1649 Outdoor Storage Building Poly 4 Drum. A portion of a used ½-inch-
             thick rubber conveyor belt 1 was placed on the floor as a liner.

             Mr. Wadsworth reported that there were several contents in the shed.               The
             contents in the shed included two chairs, one metal framed plastic chair, a wood
             framed cushion chair, a portable electric heater, an extension cord for the portable
             electric heater, two ashtrays, a wood nightstand with two drawers and contents
             stored in the drawers, including lighters, empty brass for ammunition, scissors, and
             other miscellaneous items.

             Mr. Wadsworth stated that the portable electric heater was plugged into an
             extension cord.    This extension cord was routed from the north exterior wall
             receptacle to the shed. Located to the east of the shed was a dog water bowl and
             electric heater to prevent the water from freezing. There were two extension cords
             used for the portable electric heater and water bowl heater.

     Scene Video Review

     There were several Sweetwater County Sheriff's Office personnel who responded to the
     fire incident. The response was recorded by body and vehicle mounted cameras.

     The video Axion 2022-02-01 Axon Flex 2 X83117146 (Officer Hansen Body Camera) was
     reviewed. The following are observations of the condition of the fire and the structure:

             No fire was present at the south, east, and west exteriors of the structure. Smoke
             was ventilating from the gable end attic vents at the east and west exteriors of the
             attic. All windows and doors to the structure are closed except for the exterior door
             to the garage. Smoke had vented from the kitchen door and exterior garage door.
             Flames were observed at ground level at the location below the window for
             Bedroom #4. Flames were observed around the window, eaves, and roof of
             Bedroom #4. The shed had been mostly consumed by the fire and its shape is no


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             longer identifiable. The overhead service drop conductors have severed from the
             weatherhead at the north exterior of the structure.

             Fire department personnel's first attempt to extinguish the fire occurred at
             approximately 4:44 a.m. The water is used to extinguish the fire on the north side
             on the ground and around the Bedroom #4 window.

             Smoke vented from the living room center window at 4:46 a.m. and along the eaves
             of the roof. Flames became visible in the living room windows at approximately
             5:00 a.m. and the flames begin to increase in size and intensity. The fire then
             began to vent from the living room windows. Flames appear at the west attic vent
             at approximately 5:34 a.m.

     The video Axion 2022-02-01 Axon Fleet 2 X54000841 (Officer Hansen Vehicle Camera)
     was reviewed. The following are observations of the conditions of the fire and the
     structure:

             The vehicle is parked at the southwest corner of the structure. Flames in the living
             room become visible at approximately 5:00 a.m. The fire continues to grow in size
             and intensity. Flames begin to exit the attic at the west gable at 5:34 a.m.

     The video Axion 2022-02-01 Axon Flex 2 X83117281 (Officer Merrell           Body Camera).
     The following are observations of the conditions of the fire and the structure:

             This video contains the witness statements of Kamille Wadsworth, Gunner
             Wadsworth, and Lane Wadsworth as discussed above.

     Video named Axion 2022-02-01 Axon Flex 2 X83038327 (Officer Kaumo                      Body
     Camera). The following are observations of the conditions of the fire and the structure:

             This video is similar to the video of Officer Hansen. Sweetwater County Fire District
             1 personnel arrived at 5:40 a.m.

     Review of Detective Jeff Sheaman Investigation Reports

     The Supplemental Narrative of the Sweetwater County Sheriff incident report number
     S22-01535 authored by Detective Jeff Sheaman S22-01535 was reviewed. The following
     information was obtained from this review:

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             The report indicated that Detective Jeff Sheaman observed a V pattern, along the
             south interior wall of the bedroom and south interior wall of the hallway, that
             indicated the fire originated near Bedroom #4 doorway.

             While observing electrical wiring and components in the bedroom and closet,
             Detective Jeff Sheaman found nothing suspicious. He also noticed that an outlet
             (receptacle) located along the west interior wall of Bedroom #4 had melted plastic
             covering the lower plug holes and wire coming out of the melted plastic.

             The report indicated witness statements made by Mr. Pasborg indicated that he
             saw flames coming out of the window. This is a mischaracterization of Mr.
             Pasborg's witness statements during the interview. The interview with Mr. Pasborg
             indicated that when he arrived at the house, he saw the dry grass on fire, and the
             flames were going up the side of the exterior wall.

             The report included a summary of information obtained during the interview with
             the children. The report did not include all witness statements including those that
             indicated that the fire originated at the exterior of the structure. Only selective
             witness statements were included in the report.

     Review of Detective Jeff Sheaman Deposition

     The deposition of Detective Jeff Sheaman from the Sweetwater County Sheriff's Office
     conducted on February 2, 2024, was reviewed. Detective Jeff Sheaman conducted a fire
     investigation on behalf of Sweetwater County              Office. The following is a summary
     and response to statements made during the deposition:

     Detective Jeff Sheaman made several statements about the formation of a V pattern,
     what can be interpreted from a V pattern, and that a V pattern indicated the origin of the
     fire. Detective Jeff Sheaman stated that a V pattern occurred on the south interior wall of
     Bedroom #4, the V pattern continued on the south interior wall of the hallway, and that
     the inverted cone pattern on the west interior wall of Bedroom #4 was an extension of the
     V pattern along the south interior wall of Bedroom #4.

     There is no V pattern on the south and west interior walls of Bedroom #4. The inverted
     cone pattern along the west interior wall of Bedroom #4, and the ventilation pattern on the
     south wall of the bedroom were incorrectly identified and interpreted by Detective Jeff
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     Sheaman. The fire pattern on the west interior wall above the location of the hoverboard
     has geometry consistent with an inverted cone pattern. The inverted cone pattern is
     consistent with the fuel package of the hoverboard. Inverted cone patterns are caused by
     vertical flames plumes not reaching the ceiling. Notwithstanding, Detective Jeff Sheaman
     incorrectly identified the ventilation pattern as a V Pattern. A V pattern is not evidence of
     the origin of the fire. A V pattern is a pattern that is developed when the vertical wall
     intersects the fire plume. This pattern can aid the investigator in the fuel package heat
     release rates (HRR), the geometry of the fuel, and the location of the fuel package within
     the room or compartment. NFPA 921 warns the investigator of the limitations of V pattern
     interpretation and a V pattern is not necessarily associated with the origin of the fire.

     Detective Jeff Sheaman opined that the formation of a protected area below the
     hoverboard is consistent with a fire origin at the hoverboard.

     A protected area pattern below the base of a V pattern is not consistent with the origin of
     the fire. This is an inaccurate interpretation of fire patterns. NFPA 921 does not state that
     a V pattern and protected area together are an indication of the fire's origin. There is no
     known scientific literature that is consistent with this opinion. The author of this report has
     never received any training that would be consistent with these two patterns together that
     indicated the origin of the fire. In fact, if the fire originated at the hoverboard, it would be
     expected that the hoverboard          combustible components would be mostly or fully
     consumed in the fire. Internal wire insulation and other internal components of the
     hoverboard were not all fire damaged. The lack of extensive fire damage to the internal
     components of the hoverboard is not consistent with a fire origin at the hoverboard.

     Detective Jeff Sheaman opined that had a fire originated at the exterior of the structure
     at the shed, that the shed would produce a similar V pattern along the exterior wall.

     This interpretation of the formation of the V pattern by the shed is inaccurate. A V pattern
     is produced during the fire because of the presence of horizontal surfaces such as
     ceilings. Since the shed is at the exterior of the structure, no V pattern will form along the
     exterior of the wall since there is no horizontal surface to cause changes in the fire plume.
     There may be a small formation of the V pattern along the north exterior wall from the
     burning of the shed due to the eave of the structure. However, the shed location would
     have only placed a small portion of the shed under the eave and the plume that is


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     generated during the burning of the shed. The pattern generated around the window was
     from the effects of ventilation and the interaction of the eave from smoke and fire exiting
     the window once a fire developed at the interior of the bedroom.

     Detective Jeff Sheaman opined that the hoverboard was plugged into the Bedroom #4
     west interior wall receptacle. He stated that there was a melted plastic piece with wires
     protruding from the receptacle. Detective Jeff Sheaman stated that the wires could not be
     traced from the receptacle due to the extensive fire damage.

     The receptacle Detective Jeff Sheaman referred to is the receptacle for the refrigerator
     on the east interior of the kitchen behind the refrigerator. There were two receptacles
     within the interstitial wall space between Bedroom #4 and the kitchen.            The lower
     receptacle faced Bedroom #4, and the upper receptacle faced the kitchen. Plugged into
     the kitchen receptacle was the power cord for the refrigerator. The plastic face of the
     receptacle was intact with fire damage, and a melted plastic piece was connected to the
     lower side of the duplex receptacle. Protruding from the receptacle were two conductors
     for the refrigerator power cord that was still connected to the refrigerator. Fire damage
     occurred to the Bedroom #4 west interior wall receptacle. The face of the receptacle was
     consumed by the fire, there was no melted plastic piece attached to the receptacle, and
     there were no wires protruding from the receptacle. Detective Jeff Sheaman incorrectly
     identified the two receptacles. The power cord for the refrigerator was still intact with some
     fire damage. That power cord for the refrigerator was traced from the kitchen receptacle
     to the refrigerator. There is no evidence that any power cord was plugged into the
     bedroom receptacle including the hoverboard.

     Detective Jeff Sheaman opined that a fire that originated at the hoverboard could grow
     and develop within the bedroom, develop a smoke and heat layer sufficient enough to
     break the window, yet not injure Gunner Wadsworth while he was on his bed.

     This is not consistent with known evidence of how a window breaks and the development
     of the fire within the bedroom. The fire growth within the bedroom from a fire that
     originated at the hoverboard would be inconsistent with the development of a fire in the
     bedroom, the breaking of the windowpane, and the survivability of the tenants of the
     bedroom.




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     Detective Jeff Sheaman opined that the shed was plastic, that it was not combustible,
     and it would melt.

     The shed is made of polyethylene. Polyethylene has a flashpoint of 645 degrees
     Fahrenheit, and an auto-ignition temperature between 626 and 770 degrees Fahrenheit.
     Combustible materials are those materials that are capable of burning and have a flash
     point above 100 degrees Fahrenheit. Polyethylene is capable of
     statement that the plastic shed would melt and is not combustible is inaccurate. Burn
     testing of an exemplar shed was consistent with the ability of the plastic shed to burn
     rather than melt and impact the window and overhead service drop conductors.

     Detective Jeff Sheaman opined that witness interviews were consistent with a fire origin
     at the interior of the structure.

     Detective Jeff                                                             had indicated that
     the fire originated at the exterior of the structure. In fact, the witness statements were
     consistent with a fire origin at the exterior. Furthermore, the witness statements of fire
     that originated at the interior of the structure are not consistent with fire pattern analysis,
     arc mapping analysis, fire dynamics, burn testing of an exemplar shed, and fire modeling.

     Detective Jeff Sheaman                    the fire originated at the hoverboard is inaccurate.
     His investigation did not meet the requirements set forth in NFPA 921. Mr.
     interpretation of fire patterns are not consistent with NFPA 921. His methodology used
     to determine the origin and cause of the fire is not consistent with NFPA 921. Detective
     Jeff              opinion that the fire originated at the hoverboard in Bedroom #4 failed to
     meet the requirements of the overall methodology of fire investigations. The selection of
     the final hypothesis must include the coordination of witness information and electronic
     data, fire patterns, and fire dynamics. Detective Jeff Sheaman failed to coordinate witness
     statements, fire patterns, timelines, and fire dynamics that were consistent with an
     exterior fire origin hypothesis. Mr. Sheaman was unaware that a plastic shed existed at
     the exterior until after his site investigation, did not review any of the body camera and
     vehicle camera videos, was not aware of the additional arc survey and arc mapping
     analysis results, was not aware of the lack of tripped circuit-breakers in within the circuit-
     breaker panel, incorrectly identified the receptacles in Bedroom #4 and kitchen, and




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     incorrectly identified fire patterns. The failure to apply this known data fails the overall
     methodology and results in the improper final selection of an origin hypothesis.

     Review of Fire Chief Bill Robinson's Deposition

     The deposition of Fire Chief Bill Robinson with the Green River Fire Department
     conducted on November 15, 2023, was reviewed. Fire Chief Robinson investigated the
     fire for the Green River Fire Department. Fire Chief Robinson agreed with Mr. Sheaman
     as to the origin of the fire. Fire Chief Robinson was provided additional evidence and
     data during the deposition in regard to the location of the shed, potential ignition sources
     around the shed, arc mapping analysis, and witness statements. Fire Chief Robinson
     opined based upon the new information, that the additional information would warrant
     further investigation and agreed the fire origin should be undetermined.

     Review of M.J. Schulz & Associates Report

     The M.J. Shulz & Associates, Inc. Report of Forensic Investigation and Analysis authored
     by Mr. Michael J. Shulz, dated July 15, 2024, was reviewed. The report did not comply
     with ASTM E620-18, Standard Practice for Reporting Opinions of Scientific or Technical
     Experts, and the National Fire Protection Association (NFPA) 921, Guide for Fire and
     Explosion Investigation. The 88-page explanatory report discussed fire investigation
     procedures and requirements, and briefly described the                  conclusions as to the
     origin and cause of the fire but did not provide any analysis of the determination of the
     origin of the fire. The report failed to include pertinent observations, comprehensive
     witness statements, fire patterns, fire dynamics, sequential fire pattern analysis, arc
     mapping analysis, and an analysis of the final selection of the origin hypothesis.

     The report failed to provide a discussion on pertinent observations included in the
     Author s analysis of the fire's origin. These observations include but are not limited to fire
     patterns, timeline and sequence of events, the shed location, condition and damage of
     the shed, identification of potential ignition sources near the shed, evidence of arcing
     within the shed, the loss of the overhead service drop, and lack of electrical arcing at the
     interior of the structure.

     The report failed to provide comprehensive witness statements including statements that
     the fire originated at the exterior by Kamille Wadsworth, conditions of the shed, and


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     description of the fire by Mr. Pasborg during the incident. The report did not include all
     statements made during the formal interview with Kamille Wadsworth, Gunner
     Wadsworth, Layne Wadsworth, and Mr. Pasborg that indicated the fire originated at the
     exterior of the structure. The report failed to reconcile witness statement discrepancies
     with known evidence such as the window failure while Gunner Wadsworth was present
     at the top bunk, arc mapping analysis, and fire dynamics analysis. The witness
     statements at a minimum should have warranted further investigation regarding the shed
     location, possible alternative origin hypothesis, and identification of potential ignition
     sources at the exterior of the structure.

     The report failed to provide a discussion and analysis of fire patterns, sequential patterns,
     fire dynamics, and fire spread analysis. The report did not include any fire pattern
     identification and interpretation including plume, ventilation, hot gas layer, full room
     involvement, or suppression-generated patterns. The report did not include any
     sequential fire pattern analysis that aided the author in determining when the fire patterns
     were produced during the history of the fire. The report did not include any analysis of fire
     dynamics and how the fire interacted with the structure s systems. The report failed to
     address the fire spread analysis that the author relied upon to determine if the fire damage
     and available data were consistent with the area of origin hypothesis.

                                                                         in Bedroom #4 failed to
     meet the requirements of the overall methodology of fire investigations. The selection of
     the final hypothesis must include the coordination of witness information and electronic
     data, fire patterns, and fire dynamics. The author failed to coordinate witness statements,
     fire patterns, timelines, and fire dynamics that were consistent with an exterior fire origin
     hypothesis. The lack of applying this known data fails the overall methodology of fire
     investigations and results in the improper final selection of an origin hypothesis.

     Analysis

     The fire originated at the plastic shed located below the Bedroom #4 window along the
     north exterior wall of the structure. The fire began at the interior of the shed, spread
     throughout the shed until it impinged the window and the overhead service drop
     conductors, impinged the window until failure, and then spread to the interior of the
     structure through the Bedroom #4 window. The fire then developed and spread within the


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     structure until the fires were extinguished by the fire department. The determination of
     the origin of the fire involves the coordination of information derived from witness
     statements, fire patterns, and fire dynamics. Arc mapping is considered a fire pattern and
     can also be used in the determination of the spatial space in which the fire originated. Fire
     dynamics analyses can be used to evaluate the origin hypotheses by use of fire modeling.

     Witness statements provided by Ms. Wadsworth, Kamille, Gunner, and Layne
     Wadsworth, and Mr. Pasborg were consistent with the origin of the fire at the shed. These
     statements include the fire conditions of the bedroom at the time of discovery, the fire
     conditions in the structure prior to exiting the structure, the loss of Bedroom #4 window,
     exterior fire conditions upon attempting to leave the structure, and the fire conditions of
     the shed. The witness statements that were inconsistent with an exterior fire origin were
     not consistent with fire pattern analysis, fire dynamics analysis, arc mapping, and fire
     modeling.

     Fire pattern analysis indicated that the fire originated at the exterior of the structure. Since
     fire patterns represent the total history of the fire, sequential pattern analysis is required
     to assess the relevance of any individual fire effect. The fire patterns at the exterior of the
     structure are consistent with a fire developing and progressing from the shed. This
     included the columnar fire pattern present along the north exterior wall from the burning
     of the shed. Fire pattern analysis was consistent with fire progression from the shed, into
     Bedroom #4 through the window, then progressed into the bedroom. The fire then
     developed and spread in the bedroom, then exhausted through the window and bedroom
     door into the remaining portions of the structure. The increased fire damage at the west
     side of Bedroom #4 was consistent with ventilation effects and the flow path from the
     window to the bedroom door. The increased damage to the area around Bedroom #4 and
     hallway was consistent with ventilation effects rather than any pointer and arrow patterns
     or V patterns.

     Arc mapping analysis is consistent with the origin of the fire at the interior of the shed. Arc
     mapping analysis is a form of fire pattern that can aid in the determination of the origin of
     the fire. Located from the utility pole at the northeast of the structure was the overhead
     service drop routed to the weatherhead located along the north exterior wall west of the
     shed. The shed was located below the overhead service drop conductors. An electrical
     arc occurred at the portable electric heater extension/power cord located at the interior of

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     the shed. The overhead service drop conductors were severed due to the fire burning
     below the overhead service conductors. A burn test of an exemplar shed indicated that
     the shed is capable of burning and will produce flame heights sufficient to impact the
     overhead service drop conductors causing them to melt and severe. Once electrical
     power is disconnected, no arcing can occur on any component that is connected to the
     buildings fixed electrical system. This is consistent with the absence of any electrical arc
     event within the structure. It was determined that the arc at the extension cord and power
     cord for the portable electric heater in the shed occurred first, then followed by the loss of
     power to the structure. Arc mapping analysis is not consistent with a fire origin at the
     interior of the structure.

     Fire dynamics analysis is consistent with a fire origin at the exterior of the structure. Fire
     dynamics analysis was consistent with a fire origin at the shed, impacted the window,
     breaking the window, severed the overhead service drop conductors, and progressed into
     the bedroom through the bedroom window. The fire then developed and spread within
     the bedroom and remaining portions of the structure until the fires were extinguished by
     the fire department. Then the fire developed within the structure and spread from the
     natural outgrowth of a fire within the bedroom. The window failure, and the presence of
     Gunner and Layne Wadsworth within the bedroom, is consistent with an exterior fire
     origin. The window failure resulted from flame and heat impingement at the exterior of the
     windowpane. For this to occur from the interior, a significant fire must develop within the
     room of origin capable of breaking the window. The presence of Gunner and Layne
     Wadsworth is not consistent with the development of a fire within the bedroom to break
     the bedroom window before injuring the occupants of the room. Furthermore, the
     pressures within the room are generally not sufficient to break a window.

     Fire models are consistent with an origin hypothesis at the exterior of the structure, rather
     than an interior fire origin at Bedroom #4. Burn tests of an exemplar shed are consistent
     with the shed capable of burning and producing flames, and fire plumes reaching the
     overhead service drop conductors and Bedroom #4 window.

     The probable cause of the fire was the ignition of combustible materials from heat
     generated by the smoldering coal of an improperly discarded cigarette that ignited
     adjacent combustible materials.        Ms. Wadsworth admitted to smoking a cigarette
     approximately 2 to 3 hours prior to the fire. Cigarettes burn in two modes including static

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     smoldering and forced smoldering. The temperature of the cigarette coals during static
     and forced smoldering can range from 1202- to 1562- degrees Fahrenheit. Based on
     temperature, the coal temperature of the cigarette is a sufficient ignition source for
     combustible materials within the shed. However, the cigarette may not have sufficient
     ignition energy to ignite the polyethylene or rubber floor of the shed.

     The opinions expressed by Detective Jeff Sheaman with the Sweetwater County Sherriff
     as to the origin and cause of the fire are inaccurate. The opinions are not consistent with
     witness statements, proper identification of fire patterns, dynamics of fire development,
     arc mapping analysis, overall methodology of fire investigations, and all known data.

     The opinions expressed by Mr. Shulz with M.J. Schulz & Associates as to the origin and
     cause of the fire are inaccurate. The opinions are not consistent with witness statements,
     proper identification of fire patterns, dynamics of fire development, arc mapping analysis,
     overall methodology of fire investigations, and all known data.




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                                              Section IV
                                        BASIS OF REPORT

     1. An inspection of the fire-damaged structure and analysis of fire patterns, sequential
          fire pattern analysis, fire dynamics analysis, and arc mapping analysis were
          conducted.

     2. An inspection of the                       fixed electrical system and gas systems was
          conducted.

     3. An examination of the evidence items collected from the fire scene was conducted.

     4. The Sweetwater Fire District 1 incident report number 2022-28, the Green River Fire
          Department incident report number 2022-46, and the Sweetwater County Sheriff
          incident report number S22-01535, were reviewed.

     5.                                               videos named Axon Flex 2 X83117146, Axon
          Fleet 2 X54000841, Axon Flex 2 X83117281, Axon Flex 2 X83038327, were reviewed.

     6. The telephone interview with Matthew Wadsworth conducted by Sweetwater Sheriff
          Officer Jeff Sheaman was reviewed.

     7. The interviews of Mr. Ryan Pasborg, Kamille Wadsworth, Gunner Wadsworth, and
          Layne Wadsworth conducted by Officer Ashley Merrell with the Sweetwater County
                                                           , were reviewed.

     8. The interview with Mr. Ryan Pasborg conducted by Detective Jeff Sheaman with the
                                         Office on February 1, 2022, was reviewed.

     9. The interviews with Mr. Matthew Wadsworth, Kamille Wadsworth, Gunner Wadsworth,
          Layne Wadsworth, and Weston Wadsworth conducted by Detective Jeff Sheman with
          the Sweetwater County Sheriff on March 4, 2022, were reviewed.

     10. The depositions of Mr. Matthew Wadsworth, Ms. Stephanie Wadsworth, Kamille
          Wadsworth, Gunner Wadsworth, Layne Wadsworth, Weston Wadsworth, and Mr.
          Ryan Pasborg, were reviewed.




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     11. The depositions of Sweetwater County Sheriff Jeff Sheaman, Green River Fire
         Department Fire Chief Larry Erdman, Green River Fire Department Fire Chief Bill
         Robinson, Green River Fire Department Captain JP Apostolope, Sweetwater County
         Fire District 1 Jake Ribordy, Sheriff Officer John Hansen, Sheriff Officer Richard
         Kaumo, Sheriff Officer Ashley Merrell.

     12. Incident photographs, Sweetwater County Sheriff's Office investigation photographs,
         Christmas photograph named 22-01535 Christmas 2021, realtor pre-fire photographs,
         Advanced Engineering Investigations scene photographs, Rimkus photographs, and
         laboratory x-ray and microscopic photographs, were reviewed.

     13. IC Specialty Services artifact/evidence logs for File Number 22-39937, were reviewed.

     14. The    Matterport    scan,    https://my.matterport.com/show/?m=ATLJfpjEUke,      was
         reviewed.

     15. The Advanced Engineering Investigations FTIR laboratory data was reviewed.

     16. A review of the Consumer Product Safety Commission website, https://www.cpsc.gov,
         was reviewed for any potential recall notices.

     17. The interview with Mr. Matthew Wadsworth was conducted during the August 2 and
         3, 2022, joint inspection was reviewed.

     18. The Berkeley Engineering and Research, Inc. Expert Report by Mr. Derek King, dated
         July 12, 2024, was reviewed.

     19. The M.J. Schulz & Associates, Inc. Report of Forensic Investigation and Analysis by
         Mr. Michael J. Shulz, dated July 15, 2024, was reviewed.

     20. The National Fire Protection Association (NFPA) 921, Guide to Fire and Explosion
         Investigations, 2021 edition was reviewed.

     21. The National Fire Protection Association (NFPA) 921, Guide to Fire and Explosion
         Investigations, 2024 edition was reviewed.

     22. The American Society for Testing and Materials E620-18, Standard Practice for
         Reporting Opinions of Scientific or Technical Experts, was reviewed.


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     23. The IPS INCHEM Polyethylene Safety Data Sheet (SDS), dated October 2004 was
         reviewed.

     24. The article, The science behind the development and performance of reduced ignition
         propensity cigarettes, By Richard R. Baker, Steven Coburn, Chuan Liu, and Kevin
         McAdam in the Fire Science Reviews-Spring Open Journal was reviewed.

     25. The Ignition Handbook by Vytenis Babrauskas (2003) was reviewed.

     26. Smoldering Fires by Vytenis Babrauskas (2021) was reviewed.

     27. Historical weather was reviewed for February 1, 2022, for Rock Springs, Wyoming at
         https://www.wunderground.com/history was reviewed.

     28. The Eagle, Polyethylene Outdoor Storage Drum without drain, Yellow 1649,
         specifications were reviewed.

     29. The Bomgaars, Comfort Zone Electric Shop Heater, CZ250 specifications were
         reviewed.

     30. A summary of fire modeling conducted by Mr. Greg Gorbet with Fire Dynamics
         Analysts was provided by Fire Dynamics Analysts and reviewed by Joseph R. Filas.

     31. The video of the exemplar shed burn test conducted by Mr. Greg Gorbet with Fire
         Dynamics Analysts was reviewed.

     32. During our investigation, we applied the methodology of fire investigation using the
         systematic approach as recommended in the current edition of National Fire
                                               -
         in compliance with NFPA 1033 -




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                                               Section V
                                          ATTACHMENTS

     A. Photographs

     B. Diagram

     C. Curriculum Vitae




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                                               Section V
                                          ATTACHMENT A

                                          Photographs
     Photographs taken during our inspection, including photographs that were not included
     in this report, were retained in our files and are available to you upon request.




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     Photograph 1
     The north front exterior of the structure.




     Photograph 2
     The north and west exteriors of the structure.




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     Photograph 3
     The west and south exteriors of the structure.




     Photograph 4
     The south exterior of the structure.




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     Photograph 5
     The west living room windows.




     Photograph 6
     The south and east exteriors of the structure.




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     Photograph 7
     The east exterior of the structure.




     Photograph 8
     The east and north exteriors of the structure.




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     Photograph 9
     The north exterior of the structure. Bedroom #4 window is indicated by the blue arrow.
     The red box indicates the location of the shed prior to the fire. The service conductors
     from the weatherhead (red arrow) would have been located over the shed location and
     routed to the northeast utility pole.




     Photograph 10
     The remains of the window frame for Bedroom #4 window.




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     Photograph 11
     The north exterior of the structure.




     Photograph 12
     The north exterior of the structure.




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     Photograph 13
     The natural gas meter and regulator at the south exterior of the structure.




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     Photograph 14
     The remains of the weatherhead, service raceway, and meter base located at the north
     exterior of the structure.




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     Photograph 15
     The main disconnect switch and first circuit-breaker panel located on the north interior
     wall of the basement.




     Photograph 16
     The first circuit-breaker panel.




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     Photograph 17
     The second circuit-breaker panel.




     Photograph 18
     The second circuit-breaker panel.




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     Photograph 19
     The north interior of the basement.




     Photograph 20
     The south interior of the basement.




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     Photograph 21
     The garage.




     Photograph 22
     The doorway from the garage to the kitchen.




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     Photograph 23
     Bedroom #1.




     Photograph 24
     Bedroom #1.




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     Photograph 25
     Bedroom #2.




     Photograph 26
     Bedroom #2.




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     Photograph 27
     Bedroom #3.




     Photograph 28
     Bedroom #3.




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     Photograph
     Photograph 2929
     Bathroom
     Bathroom #1.
              #1.




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     Photograph
     Photograph 3030
     Bathroom
     Bathroom #2.
              #2.




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     Photograph 31
     The east portion of the bedroom hallway as seen while facing east.




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     Photograph 32
     The east portion of the bedroom hallway as seen while facing northwest.




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     Photograph 33
     The kitchen.




     Photograph 34
     The kitchen.




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     Photograph 35
     The living room.




     Photograph 36
     The living room.




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     Photograph 37
     The entrance from the hallway to the living room.




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     Photograph 38
     The west portion of the bedroom hallway as seen while facing east.




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     Photograph 39
     The west portion of the bedroom hallway as seen while facing northwest.




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     Photograph 40
     The west portion of the bedroom hallway and attic as seen while facing east.




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     Photograph 41
     The area of the attic above the bedroom hallway at the location of the ceiling fan.




     Photograph 42
     The remains of the ceiling fan.




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     Photograph 43
     Bedroom #4 as seen while facing southwest.




     Photograph 44
     Bedroom #4 as seen while facing west.




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     Photograph 45
     Bedroom #4 as seen while facing east.




     Photograph 46
     The inverted cone pattern on the west wall.




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     Photograph 46
     The protected area below the inverted cone pattern indicates the location of the
     hoverboard.




     Photograph 47
     The west Bedroom #4 receptacle (red box). The power cord for the refrigerator (blue
     arrow).




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     Photograph 48
     The refrigerator receptacle with two wires protruding from the receptacle. The wires were
     routed to the refrigerator (blue arrow).




     Photograph 49
     The remains of the hoverboard.




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     Photograph 50
     The protected area of the carpet below the hoverboard and bottom side of the hoverboard.




     Photograph 51
     Internal components of the hoverboard were fire damaged but still had areas of unburned
     material within the hoverboard.




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     Photograph 52
     The north exterior of the structure. The remains of the shed were discovered on the
     concrete ground (red arrow).




     Photograph 53
     The remains of the shed, contents of the shed, and contents around the shed.




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     Photograph 54
     The remains of the portable electric heater.




     Photograph 55
     Evidence of arcing occurred n the extension cord/power cord for the portable electric
     heater.




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     Photograph 56
     The remains of cigarette packaging foil were observed in the shed contents.




     Photograph 57
     Remains of cigarette packaging foil.




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     Photograph 58
     The remains of the ashtray were observed in the contents of the shed.




     Photograph 59
     The remains of the ashtray had remains of cigarette butts.




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     Photograph 60
     The ashtray.




     Photograph 61
     The remains of lighters and additional cigarette packaging foil.




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     Photograph 62
     The underside of the shed.




     Photograph 63
     The north exterior wall receptacle.




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     Photograph 64
     The remains of the de-icer (red box) and propane tank (blue box).




     Photograph 65
     The remains of the wood-log chair.




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                                               Section V
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                                              Diagram




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                               Bedroom #03                                                             Bedroom #04
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                                          ATTACHMENT C

                                       Curriculum Vitae




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Joseph R. Filas, IAAI-CFI (V), NAFI-CFEI
Senior Fire Consultant

8100 S. Akron Street, Suite 320
Centennial, CO 80112

Background
                                                                                   (720) 272-6968

                                                                                 jrfilas@rimkus.com


Mr. Joseph Filas holds a Bachelor of Science degree in Fire and Safety Technology with an emphasis in Fire,
Arson, and Explosion Investigation from Eastern Kentucky University. He is a Certified Fire Investigator (CFI),
with motor vehicle endorsement, with the International Association of Arson Investigators, a Certified Fire and
Explosion Investigator (CFEI) with the National Association of Fire Investigators, and a Certified Fireplace
Inspector (CFI) with Fireplace Investigation, Research, and Education. He has been recognized as an expert,
in both state and federal courts, and has extensive trial and deposition testimony experience.

He has been responsible for the direct management of over 1,700 assignments investigating and analyzing the
origin and cause of fire and explosions related to residential and commercial properties, automobiles, heavy
equipment, and in the oil and gas industry. His consulting expertise includes the evaluation of commercial
kitchen cooking equipment, fire suppression systems, exhaust ducts and fans, and code-required inspections
and cleaning services. He is knowledgeable on standard practices regarding fire investigation methodology, fire
science, fire dynamics, and evidence collection procedures. His professional experience includes an
understanding of building and fire codes and the relation between codes and construction that can contribute to
the cause and spread of a fire. He has considerable experience interviewing witnesses and working
collaboratively with responding firefighters, state and federal agencies, and other pertinent third-party
organizations.

Mr. Filas has expansive knowledge of fireplace and chimney construction and associated building codes,
manufacturer-required installation procedures/instructions related to factory built-fireplaces and heating
appliances, and code-required inspections of existing fireplaces and chimneys.

Mr. Filas is a member of the International Association of Arson Investigators (IAAI), International Association of
Arson Investigators (Colorado Chapter), and the National Association of Fire Investigators (NAFI).




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Professional Engagements
 Criminal Innocence Project
  Boon, MI (2011-2014), Requested by the Michigan Innocence Clinic to evaluate the origin and cause of the
  fire, review the investigation and findings of State experts, and provide written affidavits of findings in the
  People of the State of Michigan vs. Victor John Camina
  vacated in 2014 as a result of findings.

 Emergency Medical Technician
  Suffolk, VA (1995-2000), Volunteered at Bennett's Creek Volunteer Rescue Squad. Worked collaboratively
  with emergency service and fire department personnel in responding to dispatched calls including medical
  emergencies, fires, and auto accidents. Provided pre-hospital urgent care, life support, and patient transport.

Forensic Engagements
 Fire, Arson, and Explosion Investigations
   Commercial Building Grand Junction, CO (April 2012), Investigated a commercial fire originating from a
   vehicle that severely fire damaged and collapsed the Ed Bozarth Chevrolet structure. Provided conclusions
   and opinions about subject loss that led to the successful conclusion of the case.

 Code Compliance
  Residential Structure Fire Wauwatosa, WI (February 2011), Evaluated code compliance and manufacturer-
  required installation procedures regarding the improper installation of the fireplace. Testified how the
  installation defects and aftermarket product additions caused the fire that led to the successful conclusion of
  the case.

Professional Experience
 Rimkus                                                                                            2007 Present
  Senior Fire Consultant
  Conduct fire, arson, and explosion investigations including residential, commercial, industrial, oil and gas
  industry, heavy equipment, and automobile losses for insurance companies, manufacturers, and law firms.
  Consulting and expert witness services for litigation-related matters involving fire and explosion origin and
  cause, fire injury or death, and product liability. Inspections of fire detection, suppression, and extinguishing
  systems. Management, supervision, and tracking of case-related physical evidence. Development and
  presentation of training courses, including live-burn demonstrations, related to fire investigations for
  adjusters, law firms, and manufacturers.

 Applied Technical Services, Inc.                                                                             2007
  Fire Consultant Fire Division
  Conduct fire, arson, and explosion investigations including residential, commercial, industrial, heavy
  equipment, and automobile losses for insurance companies, manufacturers, and law firms. Consulting and
  expert witness services for litigation-related matters involving fire and explosion origin and cause, fire injury
  or death, and product liability. Inspections of fire detection, suppression, and extinguishing systems.
  Consulting services to the insurance and legal professions. Management, supervision, and tracking of case-
  related physical evidence.




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 Rimkus                                                                                                2001 2007
  Fire Consultant Fire Division
  Conduct fire, arson, and explosion investigations including residential, commercial, industrial, oil and gas
  industry, heavy equipment, and automobile losses for insurance companies, manufacturers, and law firms.
  Consulting and expert witness services for litigation-related matters involving fire and explosion origin and
  cause, fire injury or death, and product liability. Inspections of fire detection, suppression, and extinguishing
  systems. Write company policies on the management, supervision, and tracking of physical evidence while
  in the possession of company. Management, supervision, and tracking of case-related physical evidence.
  Development and presentation of training courses related to fire investigations for adjusters, law firms, and
  manufacturers.

 Interscience, Inc.                                                                               2000 2001
   Fire Investigator/Loss Analyst Fire Division
   Conduct fire, arson, and explosion investigations on residential, commercial, marine, and automobile losses
   for insurance companies and law firms in the state of Florida.

Education and Certifications
 Fire and Safety Technology, B.S.: Eastern Kentucky University (1999)
 Certified Fireplace Inspector (CFI): Fireplace, Investigation, Research, and Education Service (2008)
 Certified Fire Investigator (CFI (V)): International Association of Arson Investigators (2006)
 Certified Fire & Explosion Investigator (CFEI): National Association of Fire Investigators (1999)
 Licensed Private Detective: Arizona
 Licensed Private Investigator: Montana, Nevada, Texas, and Washington

Continuing Education
 CFITrainer.net (IAAI): Knowledge 1 Motor Vehicle Fires Tier 1; Investigating Motor Vehicle Fires; Motor
 Vehicles: The Engine and the Ignition, Electrical, and Fuel Systems; Motor Vehicles: Transmission, Exhaust,
 Brake, and Accessory Systems; Fire Protections Systems; Using Resources to Validate your Hypothesis;
 Residential Electrical Systems; Explosion Dynamics; NFPA 1033 and Your Career; Investigating Natural Gas
 Systems; The Potential Value of Electronic Evidence in Fire Investigations; NFPA 921 and 1033 2014 Editions:
 Important Revisions; Critical Thinking Solves Cases; Fundamentals of Residential Building Construction;
 Documenting the Event; Fundamentals of Interviewing; Testimony Course
 HPBE Expo: Codes, Standards and Installation Instructions: The Black and White of Hearth Installations;
 National Fireplace Institute Gas Review Class; National Fireplace Institute Woodburning Review Class
 IAAI/NAFI: 65th IAAI International Training Conference; 41st Southeastern Arson Seminar, Georgia Fire
 Investigators Association; 23rd Annual Fire and Arson Investigation School; 40th Southeastern Arson Seminar,
 Georgia Fire Investigators Association, National Advanced Fire, Arson, and Explosion Investigation Seminar,
 NAFI
 Other: Fundamentals of Motor Vehicle Fire Investigation, Society of Automotive Engineers; Prevention and
 Investigation of Commercial Kitchen Fires, International Code Council; Investigating Solid Fuel-Burning
 Appliance Fires, Fire-Findings; Deposition and Trial Testimony Training, Rimkus Consulting Group, Inc.;
 Fireplace Inspection, FP-01/FP-02/FP-03, Fireplace Investigation, Research, & Education Service;
 Investigation of Gas and Electrical Appliance Fires, Fire-Findings; Product Failure Analysis, Rimkus Consulting
 Group, Inc.; Certified Fire Protection Specialist Primer Course, NFPA; Fire Investigators Conference,
 Professional Arson CO-OP of Florida


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                                                     -                                      Colorado
 Claims, Volume 8, Number 2, July 2010, pp. 1-4.
          -                                                 Property & Liability Resource Bureau: Test
 Your Claims Knowledge, 2013.




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